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 Matthew D. Resnik (Bar No. 182562)
 RHM LAW LLP
 17609 Ventura Blvd., Suite 314
 Encino, CA 91316
 Telephone: (818) 285-0100
 Facsimile: (818) 855-7013
 matt@RHMFirm.com




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                                                                                   Matthew D. Resnik
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                Note attached hereto as Exhibit "1." Deeds of Trust attached hereto as Exhibit "2."


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         SXUSRUWLQJWRDIIHFWWKH3URSHUW\ILOHGQRWODWHUWKDQ\HDUVDIWHUWKHGDWHRIWKHHQWU\RIWKHRUGHUE\WKHFRXUW
         H[FHSWWKDWDGHEWRULQDVXEVHTXHQWFDVHXQGHUWKLVWLWOHPD\PRYHIRUUHOLHIIURPWKHRUGHUEDVHGXSRQFKDQJHG
         FLUFXPVWDQFHVRUIRUJRRGFDXVHVKRZQDIWHUQRWLFHDQGKHDULQJ

      7KHRUGHULVELQGLQJDQGHIIHFWLYHLQDQ\EDQNUXSWF\FDVHFRPPHQFHGE\RUDJDLQVWDQ\GHEWRUZKRFODLPVDQ\
         LQWHUHVWLQWKH3URSHUW\IRUDSHULRGRIGD\VIURPWKHKHDULQJRIWKLV0RWLRQ
              ZLWKRXWIXUWKHUQRWLFHRU   XSRQUHFRUGLQJRIDFRS\RIWKLVRUGHURUJLYLQJDSSURSULDWHQRWLFHRILWVHQWU\LQ
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      'DWH 02/16/2022                                                           RHM LAW LLP
                                                                                  3ULQWHGQDPHRIODZILUP LIDSSOLFDEOH 
                                                                                  Matthew D. Resnik
                                                                                  3ULQWHGQDPHRILQGLYLGXDO0RYDQWRUDWWRUQH\IRU0RYDQW

                                                                                  /s/ Matthew D. Resnik
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              DVWRWKHIROORZLQJIDFWV,NQRZWKHPWREHWUXHRIP\RZQNQRZOHGJHRU,KDYHJDLQHGNQRZOHGJHRIWKHP
              IURPWKHEXVLQHVVUHFRUGVRI0RYDQWRQEHKDOIRI0RYDQW7KHVHERRNVUHFRUGVDQGILOHVZHUHPDGHDWRU
              DERXWWKHWLPHRIWKHHYHQWVUHFRUGHGDQGZKLFKDUHPDLQWDLQHGLQWKHRUGLQDU\FRXUVHRI0RYDQW¶VEXVLQHVV
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              SUHSDUHGLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRI0RYDQWE\DSHUVRQZKRKDGSHUVRQDONQRZOHGJHRIWKHHYHQW
              EHLQJUHFRUGHGDQGKDGRUKDVDEXVLQHVVGXW\WRUHFRUGDFFXUDWHO\VXFKHYHQW7KHEXVLQHVVUHFRUGVDUH
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              FRS\RIWKHQRWHZLWKDIIL[HGDOORQJHVLQGRUVHPHQWVLVDWWDFKHGDV([KLELW     
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               HJPRUWJDJHRUGHHGRIWUXVW RU  LVWKHDVVLJQHHRIWKHEHQHILFLDU\7UXHDQGFRUUHFWFRSLHVRIWKH
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 D     7KHDGGUHVVRIWKH3URSHUW\LV          (see attached continuation page).
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           &LW\VWDWH]LSFRGH
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 7\SHRISURSHUW\ FKHFNDOODSSOLFDEOHER[HV 
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     D  'HEWRU¶VSULQFLSDOUHVLGHQFH                                E        2WKHUUHVLGHQFH
     F  0XOWLXQLWUHVLGHQWLDO                                      G        &RPPHUFLDO
     H  ,QGXVWULDO                                                  I        9DFDQWODQG
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    F         /LHQKROGHU VSHFLI\ 
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    I         7KH'HEWRUDFTXLUHGWKHLQWHUHVWLQWKH3URSHUW\E\            JUDQWGHHG           TXLWFODLPGHHG            WUXVWGHHG
              7KHGHHGZDVUHFRUGHGRQ GDWH 12/04/2019
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    F         $WUXHDQGFRUUHFWFRS\RIWKHDVVLJQPHQW V WUDQVIHUULQJWKHEHQHILFLDOLQWHUHVWXQGHUWKHQRWHDQGGHHGRI
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    D       3ULQFLSDO                                               7,000,000.00                                                  7,000,000.00
    E       $FFUXHGLQWHUHVW                                        1,304,447.74                   517,484.27                     1,821,932.01
    F       /DWHFKDUJHV                                             39,809.00                                                    
    G       &RVWV DWWRUQH\¶VIHHVIRUHFORVXUHIHHVRWKHU                                                                         
             FRVWV                                                   1,008,752.55                                                  1,008,752.55
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    K         /RDQLVDOOGXHDQGSD\DEOHEHFDXVHLWPDWXUHGRQ GDWH 06/01/2021
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    E 1RWLFHRIVDOHUHFRUGHGRQ GDWH  08/04/2021
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           8,721.6
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        3URSHUW\LVVXEMHFWWRWKHIROORZLQJGHHG V RIWUXVWRUOLHQ V LQWKHDPRXQWVVSHFLILHGVHFXULQJWKHGHEWDJDLQVW
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       L       (VWLPDWHGFRVWVRIVDOH      HVWLPDWHEDVHGXSRQ     RIHVWLPDWHGJURVVVDOHV
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      Case 2:21-bk-16674-ER   Doc 127 Filed 02/24/22 Entered 02/24/22 12:15:04    Desc
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             Continuation Page for Paragraph #2 On Page 3 Of Motion For Relief:
                                    Properties At Issue
2929 Amethyst Street,
Los Angeles, CA 90032

Legal Description:

BEING A PORTION OF THE CITY LANDS OF LOS ANGELES, CITY OF LOS ANGELES,
COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN
BOOK 2 PAGES 504 AND 505 OF MISCELLANEOUS RECORDS, IN THE OFFICE OF THE
COUNTY RECORDER OF SAID COUNTY, DESCRIBED AS FOLLOWS:

BEGINNING AT THE SOUTHWEST CORNER OF ROSE HILL COURT, AS PER MAP
RECORDED IN BOOK 8 PAGE 2 OF MAPS; THENCE SOUTH 20° 07' WEST ALONG THE
EAST LINE OF ELA HILLS TRACT, AS PER MAP RECORDED IN BOOK 14 PAGE 3 OF
MISCELLANEOUS RECORDS; 32 CHAINS, MORE OR LESS, TO AN ANGLE POINT IN
SAID EAST LINE; SAID ANGLE POINT BEING THE SOUTHWEST CORNER OF THE
LAND CONVEYED TO L.T. GARNSEY, BY DEED RECORDED IN BOOK 428 PAGE 178
OF DEEDS; THENCE SOUTH 89' 45' EAST ALONG THE SOUTH LINE OF THE LAND
DESCRIBED IN THE ABOVE MENTIONED DEED TO WILLIAM HOLGATE'S GLEN
TERRACE TRACT, AS PER MAP RECORDED IN BOOK 17 PAGE 91 OF SAID
MISCELLANEOUS RECORDS; THENCE NORTH AND EAST ALONG THE LINE OF
SAID WILLIAM HOLGATE'S GLEN TERRACE TRACT, AND THE NORTH LINE OF
THE LAND CONVEYED TO MRS. ELIZA KIMBALL, BY DEED RECORDED IN BOOK
131 PAGE 233 OF DEEDS, TO THE WEST LINE OF TRACT 7972, AS PER MAP
RECORDED IN BOOK 101 PAGES 3 TO 7 INCLUSIVE OF MAPS; THENCE
NORTHWEST AND NORTHEAST ALONG THE WESTERLY LINE OF SAID TRACT
7972, TO THE SOUTHEAST CORNER OF ROSE HILL COURT ABOVE MENTIONED;
THENCE NORTHWEST ALONG THE SOUTH LINE OF SAID ROSE HILL COURT TO
THE POINT OF BEGINNING.

EXCEPT ALL OIL, GAS, WATER AND MINERAL RIGHTS WITHOUT HOWEVER THE
RIGHT TO USE THE SURFACE OF SAID LAND FOR THE EXTRACTION OF SAID OIL
GAS WATER AND MINERALS AS RESERVED BY THE CITY OF LOS ANGELES, IN
DEED RECORDED SEPTEMBER 26,1969 AS INSTRUMENT NO. 2822.

APN: 5209-009-001
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2526-2528 Lincoln Park Ave,
Los Angeles, CA 90031

Legal Description:

LOT 1, IN BLOCK "B" OF ELA HILLS TRACT, IN THE CITY OF LOS ANGELES,
COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN
BOOK 14, PAGES 3 AND 4 OR MISCELLANEOUS RECORDS, IN THE OFFICE OF THE
COUNTY RECORDER OF SAID COUNTY.

EXCEPT THEREFROM THAT PORTION DESCRIBED AS FOLLOWS:

BEGINNING AT THE NORTHWESTERLY CORNER OF LOT 1, BLOCK "B" OF ELA
HILLS TRACT IN THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER
MAP RECORDED IN BOOK 14, PAGES 3 AND 4 OF MISCELLANEOUS RECORDS, OF
LOS ANGELES COUNTY, THENCE EASTERLY ALONG THE NORTHERLY LINE OF
SAID LOT 1, TO ITS INTERSECTION WITH THE PRODUCED EASTERLY LINE OF
THAT PORTION OF PRICHARD STREET, EXTENDING SOUTHERLY FROM THE
RIGHT ANGLE THEREIN NORTH OF ALTURA STREET; THENCE SOUTHERLY
ALONG SAID PRODUCED EASTERLY LINE OF PRICHARD STREET TO THE
EASTERLY LINE OF PRICHARD STREET; THENCE NORTHWESTERLY ALONG THE
NORTHEASTERLY LINE OF PRICHARD STREET TO THE POINT OF BEGINNING, TO
BE USED FOR PUBLIC STREET AND NO OTHER PURPOSE AS CONVEYED TO CITY
OF LOS ANGELES, A MUNICIPAL CORPORATION BY DEED RECORDED
SEPTEMBER 11, 1913, IN BOOK 5594, PAGE 123 OF DEEDS.

 APN: 5208-025-001

2520-2522 Lincoln Park Ave.,
Los Angeles, CA 90031

Legal Description:

LOT 2 IN BLOCK "B" OF ELA HILLS TRACT, IN THE CITY OF LOS ANGELES,
COUNTY OF LOS ANGELES, STATE OF CALIFORNIA. AS PER MAP RECORDED IN
BOOK 14, PAGE 3 OF MISCELLANEOUS RECORDS IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY.

APN: 5208-025-002
     Case 2:21-bk-16674-ER   Doc 127 Filed 02/24/22 Entered 02/24/22 12:15:04   Desc
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2602 Lincoln Park Ave,
Los Angeles, CA 90031

LOT 7 BLOCK E OF ELA HILLS TRACT, IN THE CITY OF LOS ANGELES, COUNTY
OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 14,
PAGES 3 AND 4, OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID
COUNTY.

EXCEPT THE EASTERLY 70 FEET THEREOF.

ALSO EXCEPTING THOSE PORTIONS OF SAID LAND CONVEYED TO THE CITY OF
LOS ANGELES FOR STREET PURPOSES.

APN: 5208-025-014


2600 Sierra Street,
Los Angeles, CA 90031
LOT 3, BLOCK F OF ELA HILLS TRACT, IN THE CITY OF LOS ANGELS,
COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED
IN BOOK 14, PAGE 3 OF MISCELLANEOUS RECORDS, IN THE OFFICE OF THE
COUNTY RECORDER OF SAID COUNTY STATE OF CALIFORNIA.

APN: 5209-005-003
      Case 2:21-bk-16674-ER        Doc 127 Filed 02/24/22 Entered 02/24/22 12:15:04            Desc
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               Continuation Page for Paragraph #11 On Page 8 Of Motion for Relief:
            Fair Market Value of The Properties/Calculation of Equity/Equity Cushion
2929 Amethyst Street,
Los Angeles, CA 90032

d. The fair market value of the Property is $6,890,000, established based on the appraisal conducted by
Thomas Oakley of A-CREDITED REALTY ADVISORS who appraised the properties on or around
January 21, 2022.
e. Calculation of equity/equity cushion in Property:
Based upon a Property Details Report, the Property is subject to the following deed(s) of trust or lien(s)
in the amounts specified securing the debt against the Property:


                      Name of Holder                    Amount as           Amount known to
                                                        Scheduled by Debtor Declarant and
                                                        (if any)            Source
 1st deed of trust: Bobs LLC                                                   $9,353,009.29 (per
                                                                               POC No. 2-1)
 2nd deed of          Helen P Ho Revocable Trust                               $400,000
 trust:
 3rd deed of trust:                                     $                      $
 Judgment liens:                                        $                      $
 Taxes:                                                 $                      $
  Other:                                                 $                      $
  TOTAL DEBT: $9,753,009.29


f. Evidence establishing the existence of these deed(s) of trust and lien(s) is attached as Exhibit “4”
and consists of:
(1) Preliminary title report.
(2) Relevant portions of the Debtor’s schedules.
(3) Other (specify):

g. 11 U.S.C. § 362(d)(1) - Equity Cushion: 0.00
I calculate that the value of the “equity cushion” in the Property exceeding Movant’s debt and any
lien(s) senior to Movant’s debt is 0.00 and is 0% of the fair market value of the Property.

h. 11 U.S.C. § 362(d)(2)(A) - Equity:
By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
Paragraph 11(e) above, I calculate that the Debtor’s equity in the Property is 0.00.
i. Estimated costs of sale: $551,200.00 (estimate based upon 8% of estimated gross sales price).
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j. The fair market value of the Property is declining because of Debtor's failure to maintain current with
monthly payments that became due and payable pre-petition and post-petition.


2526-2528 Lincoln Park Ave,
Los Angeles, CA 90031

d. The fair market value of the Property is $795,000.00, established based on the appraisal conducted
by Thomas Oakley of A-CREDITED REALTY ADVISORS who appraised the properties on or around
January 21, 2022.
e. Calculation of equity/equity cushion in Property:
Based upon a Property Details Report, the Property is subject to the following deed(s) of trust or lien(s)
in the amounts specified securing the debt against the Property:


                      Name of Holder                    Amount as           Amount known to
                                                        Scheduled by Debtor Declarant and
                                                        (if any)            Source
 1st deed of trust: Royalty Equity Lending LLC                                $9,353,009.29 (per
                                                                              POC No. 2-1)
 2nd deed of
 trust:
 3rd deed of trust:                                     $                     $
 Judgment liens:                                        $                     $
 Taxes:                                                 $                     $
  Other:                                                 $                      $
  TOTAL DEBT: $9,353,009.29


f. Evidence establishing the existence of these deed(s) of trust and lien(s) is attached as Exhibit “4”
and consists of:
(1) Preliminary title report.
(2) Relevant portions of the Debtor’s schedules.
(3) Other (specify):

g. 11 U.S.C. § 362(d)(1) - Equity Cushion: 0.00
I calculate that the value of the “equity cushion” in the Property exceeding Movant’s debt and any
lien(s) senior to Movant’s debt is 0.00 and is 0% of the fair market value of the Property.

h. 11 U.S.C. § 362(d)(2)(A) - Equity:
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By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
Paragraph 11(e) above, I calculate that the Debtor’s equity in the Property is 0.00.
i. Estimated costs of sale: $63,600.00 (estimate based upon 8% of estimated gross sales price).

j. The fair market value of the Property is declining because of Debtor's failure to maintain current with
monthly payments that became due and payable pre-petition and post-petition.

2520-2522 Lincoln Park Ave.,
Los Angeles, CA 90031

d. The fair market value of the Property is $1,050,000.00, established based on the appraisal conducted
by Thomas Oakley of A-CREDITED REALTY ADVISORS who appraised the properties on or around
January 21, 2022.
e. Calculation of equity/equity cushion in Property:
Based upon a Property Details Report, the Property is subject to the following deed(s) of trust or lien(s)
in the amounts specified securing the debt against the Property:


                      Name of Holder                    Amount as           Amount known to
                                                        Scheduled by Debtor Declarant and
                                                        (if any)            Source
 1st deed of trust: Royalty Equity Lending LLC          $                      $9,353,009.29 (per
                                                                               POC No. 2-1)
 2nd deed of                                            $                      $
 trust:
 3rd deed of trust:                                     $
 Judgment liens:                                        $                      $
 Taxes:                                                 $                      $
  Other:                                                 $                      $
  TOTAL DEBT: $9,353,009.29


f. Evidence establishing the existence of these deed(s) of trust and lien(s) is attached as Exhibit “4”
and consists of:
(1) Preliminary title report.
(2) Relevant portions of the Debtor’s schedules.
(3) Other (specify):


g. 11 U.S.C. § 362(d)(1) - Equity Cushion: $0.00
I calculate that the value of the “equity cushion” in the Property exceeding Movant’s debt and any
lien(s) senior to Movant’s debt is 0.00 and is 0% of the fair market value of the Property.
      Case 2:21-bk-16674-ER        Doc 127 Filed 02/24/22 Entered 02/24/22 12:15:04            Desc
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h. 11 U.S.C. § 362(d)(2)(A) - Equity:
By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
Paragraph 11(e) above, I calculate that the Debtor’s equity in the Property is 0.00.
i. Estimated costs of sale: $84,000.00 (estimate based upon 8% of estimated gross sales price).

j. The fair market value of the Property is declining because of Debtor's failure to maintain current with
monthly payments that became due and payable pre-petition and post-petition.



2602 Lincoln Park Ave,
Los Angeles, CA 90031

d. The fair market value of the Property is $300,000.00, established based on the value listed on
Debtor’s Schedules.
e. Calculation of equity/equity cushion in Property:
Based upon a Property Details Report, the Property is subject to the following deed(s) of trust or lien(s)
in the amounts specified securing the debt against the Property:


                      Name of Holder                    Amount as           Amount known to
                                                        Scheduled by Debtor Declarant and
                                                        (if any)            Source
 1st deed of trust: Royalty Equity Lending LLC          $                      $9,353,009.29 (per
                                                                               POC No. 2-1)
 2nd deed of                                            $                      $
 trust:

 3rd deed of trust:                                     $
 Judgment liens:                                        $                      $
 Taxes:                                                 $                      $
  Other:                                                 $                      $
  TOTAL DEBT: $9,353,009.29


f. Evidence establishing the existence of these deed(s) of trust and lien(s) is attached as Exhibit “4”
and consists of:
(1) Preliminary title report.
(2) Relevant portions of the Debtor’s schedules.
(3) Other (specify):
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g. 11 U.S.C. § 362(d)(1) - Equity Cushion: 0.00
I calculate that the value of the “equity cushion” in the Property exceeding Movant’s debt and any
lien(s) senior to Movant’s debt is 0.00 and is 0% of the fair market value of the Property.

h. 11 U.S.C. § 362(d)(2)(A) - Equity:
By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
Paragraph 11(e) above, I calculate that the Debtor’s equity in the Property is 0.00.
i. Estimated costs of sale: $24,000.00 (estimate based upon 8% of estimated gross sales price).

j. The fair market value of the Property is declining because of Debtor's failure to maintain current with
monthly payments that became due and payable pre-petition and post-petition.


2600 Sierra Street,
Los Angeles, CA 90031

d. The fair market value of the Property is $300,000.00, established based on the value listed on
Debtor’ Schedules.
e. Calculation of equity/equity cushion in Property:
Based upon a Property Details Report, the Property is subject to the following deed(s) of trust or lien(s)
in the amounts specified securing the debt against the Property:


                      Name of Holder                    Amount as           Amount known to
                                                        Scheduled by Debtor Declarant and
                                                        (if any)            Source
 1st deed of trust: Royalty Equity Lending LLC          $                      $9,353,009.29 (per
                                                                               POC No. 2-1)
 2nd deed of                                            $                      $
 trust:
 3rd deed of trust:                                     $                      $
 Judgment liens:                                        $                      $
 Taxes:                                                 $                      $
  Other:                                                 $                      $
  TOTAL DEBT: $9,353,009.29


f. Evidence establishing the existence of these deed(s) of trust and lien(s) is attached as Exhibit “4”
and consists of:
(1) Preliminary title report.
(2) Relevant portions of the Debtor’s schedules.
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(3) Other (specify):


g. 11 U.S.C. § 362(d)(1) - Equity Cushion: $300,000.00
I calculate that the value of the “equity cushion” in the Property exceeding Movant’s debt and any
lien(s) senior to Movant’s debt is 0.00 and is 0% of the fair market value of the Property.

h. 11 U.S.C. § 362(d)(2)(A) - Equity:
By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
Paragraph 11(e) above, I calculate that the Debtor’s equity in the Property is 0.00.
i. Estimated costs of sale: $24,000.00 (estimate based upon 8% of estimated gross sales price).

j. The fair market value of the Property is declining because of Debtor's failure to maintain current with
monthly payments that became due and payable pre-petition and post-petition.
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                          EXHIBIT 1
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Loan Number:                                                     Date: 09/04/2018                                        Calabasas, California

2929 Amethvst Street Los Angeles CA 90032
Properly Address
A.P.JNu 5209-009-004

1.   BORROWER'S PROMISE TO PAY
      In return I'o r a loan that I have received, I promise to pay U.S. $ 7,000,000.00 (this amoum will be called npnacipal'), plus interest,
to the order of BOBS f.LC, a Nevada Single Purpose Limited Liability Company as Io an undivided 100.000% iaterest (who
ivill be called nLender"). I understand that the Lender may transfer this Note. The Lender or anyone else who takes tliis Viote by
transfer and who is entitled to receive payments under this Note will be ca!Ied the 'Note Holder(s)."
2.   INTEREST
           pay interest at a yearly rate as described in paragraph 3 below
      I Lvill
     Interest commences on thc date of funding, and, iF paragraph 3 reflects more than one interest rate during the loan term, the rate
will change on the date which is onc (I) calendar month before each Payment Start Date.
     Interest will be »barged on unpaid principal until the full amount of principal has been paid.
     I also agree to pay interest at the rate described in paragraph 3 below on the prepaid finance charges which are a part oF the
pnncipaL
3.   PAYMENTS
      idly payments are   fB interest Only CI Fully Amortized                         ()Other
      I   will make my payments each month as follows:

                           Number ot                                                            Interest     Payment
                           Payments                            Payment Start Oates               Rates       Amounts
                                  5
                                             ~
                                                 Monthly beginning November I, 20I9                 9.75%         $ 56,875 00

                                             (
                                                 April I, 2020                                      9.75%      $ 7,056,075.00


      I will make these payments until I have paid al! of thc principal and interest and any other charges that I may owe under this iVote.
It on 04/01/2020 (the Due Date) I still owe amounts under this Note (balloon balance), I will pay all those amounts, in fuli, on that
date.
      I will make rliy paymems payabie to BOBS LLC, 600 S. Spring St. Unitg Office Los Angeles CA 90014, or at a dtlfcrent place
if I am notitied by th» No(e Holder or the Agent for thc Note Holder.

    BORROsJVER'S FAILURE TO PAY AS REQUIRED
     (A) Late Charge For Overdue Payments. If I do not pay the full amount of each monthly payment by ih end of 10 calendar
days after the date it is due, I will pay a late charge to the Viote Holder. The amount of the charge will be 10.000% of my overdue
payment or U S. $ 5 687 50, whichever is morc. I will pay this late charge only once on any late payment.
     In the event a balloon payment. is delinquent mare than 10 days atter the date it is due, I ancree to pay a late charge m an amount
equal to the maximung late charge that could have been assessed with respect to the largest single monthly installment previously due,
other than the balloon pa)ynen, multiplied by the sum of one plus the number ol'onths occurring smce the late payment char: e began
to accrue.
     (B) Default. If I do not pay the I'ull amount of each monthly payment due under this Note by the date stated in paraccaph 3 above,
I will be in default, and the Nate Holder may demand that I pay immediately all amounts that I oive under this Note
     Even if, at a time when I am in default, the Note Holder does not require me to pay immediately iu I'ull as described above, the
iVote Holder will still have the right to do so ifl am in default at a later time,
     (C) Payment of iVote Holder's Costs and Expenses. If the Note Holder has required nie to pay immediately in full as described
abave, the Note Holder will have the right to be paid back for all its costs and expenses to the extent not prohibited by applicable law.
Those expenses include, for exaniple, reasonable attorney's fees. A. default upon any interest of any Note Fielder shall be a default
upon all mierests.
     (D) Remedy in Event of Default. Upon the occurrence of an Event of Default, the entire balance of principal, together with all
accrued interest, shall, at thc option oF dte Leuder, without demand or notice, immediately become due aad payable. Upon the
occurrence of an Event of Default (and f'o r a period of no less than 6 months after such Event of Default may bc remedied), the eniire
balance of'rincipal, together with all accrued interest thereon, shall bear interest at the nate rate plus five percent (5.000%) the
 ('efault Rate" ). No dehy or omission on thc part of the Lender in exercising any right under this Note or under any of the Loan
 Documents shag operate as a waiver of such rigt.
 eccl dg sn     3       sct",   re.lnc lcgc)83333J3                                                                 CCL483518JJI en r g Grc'    USA LLC
 Ncle - ocs cg A    I                                                                                                                          Peg l cl3
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    The occurrence of (but not limited to) any of the following shall be deemed to be an event
                                                                                               of defaul( (eEvent of Default*') hereunder.
        a) Default in thc payment of principal or interest when due pursuant to the terms hereof; or
        b) The occurrence of an Event ot Default under the Deed of Trust or other agreement (includ(ng
                                                                                                            any amendment, mod(fication or
           extension thereof) now or hereafter evidencing or securing this Note (all such documents,
                                                                                                        together w(th thie Note, constituting
           the "Loan Documents" )
        c) A violation of any provis(ons of (he Deed of Trust or other agreement (including
                                                                                                any amendment, modiiication or extension
           thereof) now or hereafter evidencing or securing ANY Note (all such documents, together with this
                                                                                                                      Note, constituting the
           "Loan Documentse) on ANY property secured by this Lender
 5. BORROWER'S PAY(YIENTS BEFORE THEY ARK DUE - PREPAYMENT PENALTIKS
    I have the right to make payments of principal at any tune before they are due.
                                                                                           A payment of principal only is known as
eprepaymcnt." If I pay all or part ot'the loan principal before it is due, whether such payment is made voluntarily
                                                                                                                    or involuntarily, I
agree to pay a prepayment penalty computed as follows: You will have to pay a prepayment penalty if the loan is
                                                                                                                          paid off or
reRnanced in the first .8 year(s) as follows: Prepayment Penalty is equal to nine (9) months guarantee interest on thc
                                                                                                                             original
principal balance. Prepayment penalty is waived after thc first nine (9) months of the loans term.
6. BORROWER'S WAIVERS
     I waive ney rights to require the Note Holder to do certain things. Those
                                                                               things arc: (a) to demand payment ofamoun(s due (known
as "presmetmen(e); (b) to give notice that amounts due have not been paid (known as "nonce of dishonor';
                                                                                                                 (c) to obtain an official
certification of nonpayment (known as "protcste). Anyone else who agrees to keep the prom(ses made in this
                                                                                                                  Vote, or who agrees to
make payments to the Note Holder if I fail to keep my promises under this Note, or who signs this Note to transfer it to someone
                                                                                                                                     cise,
also waives these rights. These persons are known as "guarantors, sureties and endorsers.e
7.  RKSPO(VSIBILITIKS OF PERSONS UN(DER TPITS (VOTE
lf more than one person signs this No e, each of us is I'ully and personally obligatedto keep all of the promises made in this Note,
including the promise to pay the full amount owed. Any person who is a guarantor, surety, or endorser of this Note is also oblige(ed to
do these thin s. Any person who takes over these obligations, including the obligations of the guarantor, surety, or endorser
                                                                                                                                of th(s
Note, is also obligated to keep all of the promises made in this Nots. The Note FIo(der mav enforce i(s rite(s under this VIote 6 ainst
each person ind(v(dually or agamst all of us together. This means that anyone of us may be required to
                                                                                                         pay all cf the amounts owed
under th(s Note
8.  THIS NOTE IS SECURED BY A DEED OF TRUST
In addition to thc protec(ion given to the Note Holder under this Note, a Dccd nf Trust (the. "Security lnsbuntenle) wtth a Due-on-
1 ranster Clause dated the sa(ne date ot'his Note, protects thc Note Holder tron( possible losses which
                                                                                                        might result if I do not (&esp thc
promises Ivhich I make in the VIote That Security Instrumen( describes how and under what conditions I may bc required to mal 6
inm(ed(ate payment m full ot'all amounts (hat I owe under this VIote.
     Some of those conditions are described as fogows:

          "Lender's Right to Require The Loan to be Paid Off Immediately. If the borrower shall sell, lease for a tenn of
                                                                                                                                more than 6-
          years (including options to renew), lease with an option to purchase f'o r less than the encumbrances for any term, or transfer
          all or any part of the Property or an interest therein, excluding (a) the creation of a lien or encumbrance subordinate
                                                                                                                                       to this
          Deed of Trust, (b) or a transfer by devise, descent, or by operat(on of law upon the death of a jomt tenant, the Lender
                                                                                                                                     may, a(
          its op(ion declare the VIote and any other obligations secured by this Deed of Trust; togs(her with
                                                                                                                 accrued interest, thereon,
          immediately due and payable, in full. No waiver of the Lender's right to accelerate shall be effective unless i( is in smiting."

Jinzheng Group            IL(SAI LLC, a     California LImited Liability
Company



Borrower              Jianqing Yang, President                             Date   Borrower                                           Date




eepl 6 see ee Se(l are, Ve      (6COI   633-333
N        .0   Ie 6 Rele                                                                                                co(exec 1wilnza   6   o   I
                                                                                                                                                 USA   L(c
     I
                                                                                                                                                 Ps(f3
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                                                               ASSIG~KN'r OF XOTK
                                                          SKCURKB BV A BKKB OF TRUST
Date:

FOR VALUE RECEIVED, the undersigned hereby grants, assigns and transfers to;



all beneficial interest under the within Note, without recourse, and Deed of Trust securing same




DO NOT DESTROY THIS NOTKI When paid it must be surrendered to the Trustee, together with the Deed ofTrust securing same
for cancellation, before reconveyance will be made.




 Applfed 0           e soo   e,   I   tsoo) 033 sse3                                                  OOL030SIBIJI zpepp Gro p USA LLC
 Note.o      Ie   IIReie                                                                                                     Peo 3013
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            THIS ADDENDUM TO PROMISSORY NOTE (this "Addendum" is made as of
                                                                           )
    September 5, 2018, between JINZHENG GROUP (USA) LLC, a California limited liability
    company (" Borrower" ), 100 East Huntington Drive, Suite 207, Alhambra, CA 91801, and
    BOBS, LLC, a Nevada limited liability company (" Lender" ), 600 South Spring Street., Unit 0
    Office, I os Angeles, CA 90014 with reference to the following facts:

                                              RECITALS

          A.     Whereas, Borrower is the owner of the real property commonlydescribed
   as 2929 Anaethyst Street, Los Angeles, CA 90032, Los Angeles County Assessor's Parcel Number,
   5209-009-001, and legally described as:

  Real property in the City of Los Angeles, County of Los Angeles, State of California, described as
   follows..
               BEING A PORTION OF THE CITY LANDS OF LOS ANGELES, CITY
               OF LOS ANGELES, COUNTY OF LOS ANGELES, STATE OF
               CALIFORNIA, AS PER      iiP
                                       RECORDED IN BOOK 2 PAGES 504 AND
               505 OF MISCELLANEOUS RECORDS, IN THE OFFICE OF THE
               COUNTY RECORDER OF SAID COUNTY„DESCRIBED AS
               FOLLOWS:
               BEGINNING AT THE SOUTHWEST CORNER OF ROSE HILL COURT,
               AS PER liP  RECORDED IN BOOK 8 PAGE 2 OF liPS; THENCE
               SOUTH  20'7'EST   ALONG THE EAST LINE OF ELA HILLS
               TRACT, AS PER MAP RECORDED IN BOOK 14 PAGE 3 OF
               MISCELLArNEOUS RECORDS; 32 CHAINS, MORE OR LESS, TO AN
               ANGLE POINT IN SAID EAST LINE; SAID ANGLE POINT BEING THE
               SOUTHWEST CORNER OF THE LAND CONVEYED TO L. T.
               GARNSEY, BY DEED RECORDED IN BOOK 428 PAGE 178 OF
               DEEDS; THENCE SOUTH 89'5'AST ALONG THE SOUTH LINE OF
               THE LAND DESCRIBED IN THE ABOVE MENTIONED DEED TO
               WILLIAM HOLGATES GLEN TERRACE TRACT, AS PER MAP
               RECORDED IN BOOK 17 PAGE 91 OF SAID MISCELLANEOUS
               RECORDS; THENCE NORTH AND EAST ALONG THE LINE OF SAID
               WILLIAM HOLGATES GLEN TERRACE TRACT, AiND THE NORTH
               LPNE OF THE LAND CONVEYED TO MRS. ELIZA KIMBALL, BY
               DEED RECORDED IN BOOK 131 PAGE 233 OF DEEDS, TO THE
               WEST LINE OF TRACT 7972, AS PER MAP RECORDED IN BOOK 102
               PAGES 3 TO 7 INCLUSIVE OF MAPS; THENCE NORTHWEST AND
               NORTHEAST ALONG THE WESTERLY LINE OF SAID TRACT 7972,
               TO THE SOUTHEAST CORNER OF ROSE HILL COURT ABOVE
               MENTIONED; THENCE NORTHWEST ALONG THE SOUTH LINE OF
               SAID ROSE HILL COURT TO THE POINT OF BEGINNING.
               FXCEPT ALL OIL, GAS, WATER AND iMINERAL RIGHTS WITHOUT
               HOWEVER THE RIGHT TO USE THE SURFACE OF SAID LAND FOR
               THE EXTRACTION OF SAID OIL, GAS WATER AND MINERALS AS
                                                   1
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DD,              RESERVED BY THE CITY OF LOS ANGELES, IN DEED RECORDED
                 SEPTEMBER 26, 1969 AS INSTRUMENT NO. 2822.

                 (" Subject Property" ); and
                                                                                                           All-


            B.     Whereas, the Subject Property is presently undeveloped, and      is   presently zoned
         under Section 12.05 of the Los Angeles City ivlunicipal Code; and

           C.      $Vhereas, Borrower intends to apply for a subdivision of the Subject Property
    according to the provisions of the Subdivision Map Act, Government Code f 66410, er seq, and
    any local ordinances promulgated thereunder; and

            D,   Whereas, Borrower intends to apply    I'o r   a zoning change and/or zoning variance to
   allow development of the Subject Property; and

          E       Borrower now needs financing to finance the subdivision and rezoning ofthe
   Subject Property; and

           F.     Financing for the Projects shall be provided to the Borrower by a loan from
   the f.ender in the original principal amount of Seven Million Dollars ($ 7,000,000)
   (" Lender Loan" ) which is evidenced by a Promissory Note ("Piomissory Note"
                                                                                           );
   and

          G.      Borrower shall be responsible, during the subdivision and rezoning process to
   provide funds if and as need to pay for engineering and geological studies,
   governmental fees and charges and other expenses;                          and

          H,      The Lender and Boirower desire to enter into this Addendum to provide for the
   disbursement of the Lender Loan, and to preserve the Lender's rights to subdivide and rezone the
   Subject Property in the event of a default by the Borrower.



   NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which is
   hereby acknowledged, the parties hereby agree as follows:

   1.    Of the Seven ivlillion ($ 7,000,000) Lender Loan, Three and One-Half
   Million Dollars ($ 3,500,000) shall be retained by the Lender, and shall only be
   disbursed in accordance with the terms of this Addendum.
   2.      Definitions. The following terms shall have the following meanings.

   a.     "Contracts" shall mean any and all contracts entered into between the Borrower and
   Vendors, including, but not limited to engineers and geologists that may be necessary to
   accomplish the Subdivision/Rezoning of the Subject Property, including all exhibits and
   attachments thereto, as the same may be amended from time to time with the prior consent of the
   Lender
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      b.      "Impositions*'hall mean all (i) real estate and personal property taxes and other taxes and
      assessments, water and sewer rates and charges and all other governmental charges and
                                                                                                  any interest
      or costs or penalties with respect thereto and charges for any easement or agreement maintained for
      the benefit the real property (" Real Property**), genera! and special, ordinary and
                                                                                           extraordinary,
      foreseen and unforeseen, of any kind and nature whatsoever which, with respect to
                                                                                             any of the
      foregoing, at any time may be assessed, levied or imposed upon the Real Property, and (ii) other
      taxes, assessments, fees and governmental charges levied, imposed or assessed upon or against
      Borrower or any of its properties.

      c.      "Lender" shall mean the Bobs, LLC, a Nevada limited liability company, and
                                                                                         any assignee
      of or successor ro its rights, powers and responsibilities.

      d      "Subdivision/Rezoning" means any and all efforts to subdivide the Subject Property in
      accordance with the terms of the Subdivision ivlap Act, and any local ordinances promulgated
      thereunder, as well as any all efforts to rezone and/or obtain a zoning variance of the Subject
      Property to allow for more intensive development than is currently permitted under Lcs Ange! es
      City Zone AI-I D.

      e.     "Vendor" means a provider of goods and/or services that contribute in any way to the
      Subdivision/Rezoning of the Subject Property, and may include, but are not limited to lawyers,
      engineers, geologists, and/or contractors.

      f.     "Work" means ineans to engage, suffer, or permit to work in any and all efforts to subdivide
      the Subject Property in accordance with the terms of the Subdivision lvlap Act, and any local
      ordinances promulgated thereunder, as well as any all efforts to rezone the Subject property to
      allow for more intensive development than is currently permitted under Los Angeles City Zone Al-
      1D.

             Draw Procedures. The Lender Loan proceeds shall be disbursed as follows:

             a.   The Borrovrer shall submit to the Lender a disbursement request (" Disbursement
                  Request" ) in a form acceptable to the Lender, setting forth a detailed breakdown of the
                  disbursement requested (the "Draw Summary" ). Concurrently with the Disbursement
                  Request, Borrower shall also fttrnish to the Lender a copy of the documentation
                  indicating the Work complete pertaining to the Disbursement Request. Upon such
                  request, the Lender may verify the Work that has been completed. If the Lender
                  determines that Work is proceeding diligently and if all conditions to such disbursement
                  shall have been fulfilled, the Lender shall authorize the disbursement in a manner that
                  has been mutually agreed to by the parties. All disbursements shall be made
                  approximately forth eight (48) hours during regular business days after receipt of all
                  information required by the Lender to approve the requested disbursements. The Lender
                  may also require verification of the information contained in the Disbursement Request
                  and may require separate unconditional lien waivers and releases from all Vendors
                  covering all prior disbursements. Notvrithstanding the foregoing, each Disbursement
                  Request shall be subject to the approval of the Lender, with respect to the Lender Loan,
                  in accordance with this Agreement.
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             All Disbursement Requests shall be directed to the Lender at the address indicated below,
             and to La iVIesa Fund Control, 8419 La lvlesa Blvd C, La Mesa, CA 91942, and to Joe
             Zacharia, Open Door Lending, 24013 Ventura Blvd., Ste. 200, Calabasas, CA 91302.

             b.      Borrower shall pay all reasonable costs and expenses incurred by the Lender hereunder
                     upon demand by the Lender. After demand on the Borrower, the Lender may elect to
                     authorize disbursements of the proceeds of the Lender Loan to pay, as and when due,
                     any unpaid or unsatisfied fees, costs or other amounts owing hereunder to the Lender.

             c.      In the event the Lender disapproves any portion of the amount requested by Borrower in
                     a Disbursement Request, the Lender shall promptly notify Borrower of the disapproved
                     amount and the reason for such disapproval.

             d       In the event any itein shall be disapproved or deemed disapproved, the representatives
                     of the Borrower and the Lender shall meet promptly and in good faith to attempt to
                     resolve the matter to their mutual satisfaction.

   4.        Disbursement Amounts.

        a.   The aggregate amount advanced shall be limited to the amount shown in "2029 Amethyst
             Estimated Costs," attached hereto as Exhibit A.

        b.   Subject to the terms of this Agreement, the Lender will authorize disbursements of the
             Lender Loan to defray actual and reasonable costs incurred by Borrower and approved by
             the Lender for Work performed.

        c. Cost Information. If the Borrower becomes aware of any change in the approved costs set
           forth in the "2029 Amethyst Estimated Costs" which would increase, change, or cause a
           reallocation of the costs as shown on the "2029 Amethyst Estimated Costs," the Borrower
           shall immediately notify the Lender in writing and promptly submit a proposed revised
           "2029 Amethyst Estimated Costs" to the Lender for approval. The Borrower shall have no
           right to receive further disbursements of the Lender Loan unless and until the revised "2029
           Amethyst Estimated Costs" is approved by the Lender, which approval shall not be
           unreasonably withheld. The limit of financing to be provided by Lender pursuant to this
           Addendum shall be limited to Three and One-Half Million Dollars ($ 3,500,000).

        d. Conditions Precedent to Draw. The Lender shall determine whether or not the conditions
           precedent to its obligation to advance its loan have been satisfied or whether or not to
           waive, in its sole discretion, any condition precedent to its obligation to advance the Lender
           Loan v.bich the Lender, or designee, determines has not been satisfied. As conditions
           precedent to approval of any Disbursement Request, each of the follovdng conditions shall
           have been fulfilled to the satisfaction of the Lender, as applicable:

             I   .   All representations and warranties contained in this Agreement and the Lender
                     Documeni.s shall be true and correct in afi material respects;

             2. All insurance coverage required to be maintained by the Borrower under the Lender
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                    Documents or by law shall be in I'ull force and effect;

               3. The Lender Documents shall be in full force and effect;

                    No Event of Default under the Lender Documents shall have occurred and be
                    continuing;

               5.   Except to the extent waived the Lender, or designee, in their sole discretion, all
                    governmental consents, licenses, permits and all other authorizations or approvals then
                    required with respect to the Subdivision/Rezoning of the Subject Property shall have
                    been obtained and/or issued, or udll be timely obtained;

               6. The Lender shall have received copies     of notarized partial lien waiver forms executed
                    by the Vendors, specifying in each such partial lien. waiver the amount paid in
                    consideration of such partial release;

               7. Betore any disbursements after the initial disbursenient, the Borrower shall turiush to
                  Lender a list (if not previously delivered) of all Vendors employed in connection with
                  the Subdivision/Rezoning of the Subject Property, containing the name, address, and
                  telephone number of each such Vendor, a general statement of. the nature of the Work to
                  be done, the labor and materials to be supplied, and the approximate dollar value of such
                  labor or Work with respect to each. Lender shall have the right to make direct contact
                  with each Vendor to verify the facts disclosed by said list or for any other purpose;

               8.   Copies of invoices or other acceptable documentation shall be subnritted to substantiate
                    Borrower's request for payment of construction costs, including "soft costs;"

               9. Lender shall have approved     of Borrower's requisition for "hard costs."

     5.      Conditions Precedent to Final Disbursement. Subject to any additional conditions set forth
     in the Lender Documents, the following conditions shall be satisfied prior to the final disbursement
     of the Lender Loan and the Retainage:

          a.   Lender shall have received evidence that all Impositions which are due and payable for the
               current tax year have been paid in full;

          b.   Lender shall have received final lien releases and waivers from the Vendors for all Work
               performed in connection with the Subdivision/Rezoning of the Subject Property;

     6.      Notices. Any and all notices, demands or other communications required or desired to be
     given hereunder by any party shall be in writing and shall be validly given or made to another party
     only (a) if served personally, (b) if deposited in the United States first class mail, certified or
     registered, postage prepaid, or (c) if sent by overnight delivery service and a confirmation of receipt
     is obtained. If such notice, demand or other communication is served personally, service shall be
     conclusively deemed made at thc time of such personal service. If such notice, demand or other
     communication is given by mail, such shall be conclusively deemed given seventy-two (72) hours
     mter the deposit thereof in the United States mail addressed to the party to whom such notice,
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    demand or other communication is to be given at the following address set forth below. If such
    notice, demand or other communication is sent by overnight delivery seivice. such shall be
    conclusively deemed given at the time confirmation of receipt is obtained, provided the overnight
    delivery is addressed to the party to whom such notice, demand or other communication is to be
    given at the address set forth below.

    If to the Borrower:

    J1NZHENG GROUP (TISA) LLC
    100 East Huntington Drive, Suite 207
    Alhambra, CA 91801

    If to the Lender:

    BOBS, LLC
    600 South Spring Street, Unit g Office
    Los Angeles, CA 90014

    Ailv party hereto may change its address for the purpose of receiving notices, demands and other
    communications as herein provided by a written notice given in the manner aforesaid to the other
    party or parues hereto.

    7.     Governing Law. This Agreement shall be governed by, and construed in accordance vdth,
    the substantive laws of the State of California without regard to principles of contqicis of laws.

     8.    Headings. The headings used herein are for convenience only and do not limit or alter the
    terms of this Agreement or in any v ay affect the meaning or interpretation of this Agreement.

    9.         Successors and Assigns. All rights ol'each party shall inure to the benelit of its successors
    and assigns, and all obligations, liabilities, and duties of each party shall bind its successors and
    ass 1glls.

    10.     Entire Agreement; Amendment and Modification. This Agreement constitutes the entire
    agreement and understanding of the parties hereto in respect of the subject matter contained herein,
    supersedes all prior agreements and understandings, both written and oral, between the parties in
    respect of the subject matter hereof and no changes, amendments, or alterations hereto shall be
    effective unless pursuant to written instrument executed by the Borrower and the Lender.
    Notwithstanding the foregoing sentence or any other provision of this Agreement, this Agreement
    does not supersede and shall not be deemed to amend any of the Lender Documents. Borrower and
    Lender anticipate modifications and supplements to this Agreement from time to time, in writing,
    signed by the Lender or designee, and the Borrower.

     11.     No Waiver of Strict Compliance. No waiver or failure of a party to insist upon strict
     compliance with any obligation, covenant, agreement, representation, warranty, or condition shall
     operate as a waiver of, or estoppel v ith respect to, any subsequent or other failure to comply vvith
     such obligation, covenant, agreement, representation, wananty, or condition, or with any other
     obligation, covenant, agreement, representation, warranty, or condition contained herein. Failure to
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    exercise any right, povver. or remedy shall not constitute a waiver of any obligations under this
    Agreement or constitute a modification of this Agreement. The making of this Agreement shall uot
    waive or impair any other security a party may have or hereafter acquire for the payment of
    obligations under this Agreement, and the taking of any additional security it may have in the order
    it may deem proper.

    12.     Validity. The invalidity or unenforceability of any temis or provisions of this Agreement
    shall not affect the validity or enforceability of any'ther provisions of this Agreement, which shall
    remain in full force and effect, and, if any such unenforceable provision hereof is enforceable in
    any part or to any lesser extent, such provision shall be enforceable in all such parts and to the
    greatest extent permissible under applicable law.

    13.     Supervision of Work. The Lender shall be under no obligation to perform any of the Work
    necessary to complete the Subdivision/Rezoning of the Subject Property. The Lender is not the
    agent for Borrower, nor is the Lender a partner or joint venturer with Borrov er. The Leader shall
    not have any fiduciary duty or obligation to the Borrower.

     14.    Reservation of Rights. Nothing contained herein shall be construed as restricting, limiting,
    ainending or modifying the rights of the parties in the Lender Documents, as they relate to defaults
    or remedies, including, inter alia, the right of each party under its respective security instruments to
    toreclose on the Property, or to seek recourse under any guaranties.

    15.     Default. In the event of a default under the terms of the Subject Note, Borrower pants,
    assigns, conveys and transfers to Lender, all of Bon ower's rights to the Subject Property under the
    Subdivision Map Act, inchiding, but not limited to any and all Vendor Contracts, notices, parce!
    maps, tentative maps, final maps, local agency submittals, applications, pernuts, engineering
    reports, geological reports, technical feasibility studies, environmental analyses, notices of
    hearings, hearing minutes, and committee approvals, legislative approvals, permits, and fulfillnients
    of any conditions.

            Further, in the event of default, Borrower grants to Lender all of Borrower's rights to the
    Subject Property with regard to Subdivision/Rezoning of the Subject Property, including, but not
    limited to all applications, studies, staff recommendations, and approvals f'r a zoning change
    and/or zoning variance of the Subject Property to allow for more intensive development than is
    currently permitted under Los Angeles City Zone A l-l D,

             Borrower agrees that in the event of default, Borrower will deliver to Lender all files,
     records, documents, drawings, specifications, equipment, sofhvare, governmental submissions and
     correspondence, surveys, studies, reports, permits, maps, and similar items whether maintained in
     hard copy, in electronic form, or on line relating to the Subject Property and the
     Subdivision/Rezoning, whether prepared by Borrower, Vendors, governmental agencies or others.

     16.    Further Assurances. The parties hereto hereby agree to execute such other documents and to
     take such other action as may be reasonably necessary to further the purposes of this Agreement.

     17.   Counterparts. This Agreemcnt may be signed by each party on a separate signatiue page,
     and when the executed signature pages are combined, shall constitute one single instrument iidth
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    the same effect as it all signatories had executed the same instrument.

    IN WITttIESS WHEREOF, each party has executed this Agreement on the date first hereinabove
    written.
                                                  JINZHENG GROUP 0JSA) LLC,
                                                  a California limited liability company




                                                   a,'.
                                                          Jianqing Yang, Managing Member

                                                   BOBS, LLC, a Nevada limited liability company



                                                   By
                                                          Rommy Shy, Managing

                                           Member
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

17609 Ventura Blvd., Suite 314, Encino, CA 91316.

A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION FOR RELIEF
FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § (WITH SUPPORTING DECLARATIONS) (REAL PROPERTY) will
be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
2/24/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 2/24/2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 2/24/2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/24/2022                    Max Bonilla                                                       /s/ Max Bonilla
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):




   •   Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
   •   Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
   •   Susan Titus Collins scollins@counsel.lacounty.gov
   •   Richard Girgado rgirgado@counsel.lacounty.gov
   •   M. Jonathan Hayes jhayes@rhmfirm.com,
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       y.bestcase.com
   •   Matthew D. Resnik matt@rhmfirm.com,
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       sloan@rhmfirm.com
   •   Allan D Sarver ADS@asarverlaw.com
   •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
   •   Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov



2. SERVED BY UNITED STATES MAIL:


JINZHENG GROUP LLC
100 E. Huntington Drive
Ste. 207
Alhambra, Ca 91801

Judge's Copy
Hon Judge Ernest Robles
255 E. Temple Street, Suite 1560 / Courtroom 1568
Los Angeles, CA 90012
